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                 EXHIBIT B
           Case 2:13-cv-00618-JAD-NJK Document 1-2 Filed 04/10/13 Page 2 of 5




 1    COMP
      JANET MARKLEY
 2    Nevada Bar No. 004009                                                    Electronically Filed
      LAW OFFICES OF JANET MARKLEY                                          12/14/2012 09:51:52 AM
 3    1000 Nevada Way, #102
      Boulder City, NV 89005
 4    (702) 294-6529
      markleyganmarkleylaw.com                                                        iiisevLs--
 5                                                                           CLERK OF THE COURT
     Attorneys for Plaintiff
 6
 7                                             DISTRICT COURT
 8                                          CLARK COUNTY, NEVADA
 9 MELISSA STRAWDER-McCURRY,
10                             Plaintiff,                        CASE NO.A — 12-673600—C
                                                                 DEPT. NO. XVIII
11   VS.


12 WAL-MART STORES, INC., d/b/a
   WALMART, DOES I through X, inclusive,
13 and ROE CORF'ORATIONS I through X,
   inclusive,
14
                   Defendants.
15
16                                               COMPLAINT

17            Plaintiff, MELISSA STRAWDER-McCURRY, by and through her attomey, JANET S.
18 MARICLEY, ESQ., alleges as follows:
19                                          GENERAL ALLEGATIONS

20            1.    Plaintiff, MELISSA STRAWDER-McCURRY was at all relevant times, a resident
21 of County of Clark, State of Nevada.
22            2.    At all times relevant to this Complaint, Defendant WALMART., a Delaware
23 Corporation was and is doing business in Clark County, State of Nevada.
24            3.    The tTue names and capacities, whether individual, corporate, associate, or otherwise
25 of defendants Does I through X, inclusive, and Defendants Roe Corporations I through X, inclusive,
26 are unknown to Plaintiff who therefore sues those Defendants by such fictitious names, but are
27 believed to be agents, servants, employers, or employees of the other defendants named in this
28 complaint. Plaintiff is informed and believes, and upon such alleges, that each of the Defendants
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 1 designated as a Doe or Roe Corporation is negligently responsible in some manner for the events and
 2 happenings referred to in this Complaint, and negligently caused injury and damages directly and
 3 proximately to the Plaintiff as alleged in this Complaint; that such Doe Defendants and Roe
 4 corporations Defendants were the agents, servants, or employees, of each other or other Defendants
 5 named in this Complaint, and in doing the things alleged in this Complaint, each were acting within
 6 the course and scope of said agency, servitude, authority, and employment, with lcnowledge,
 7 permission, and consent of the other Defendants. Plaintiff asks leave of this Court to amend this
 8 Complaint and insert the true names and capacities of sthd does I through X, inclusive, and Roe
 9 corporations I through X, inclusive, when the name have been ascertained by Plaintiff, together with
10 the appropriate charging allegations, and to joint these Defendants in this action.
11         4.      At all times mentioned herein, Defendants, and each of them, were the agents,
12 servants, partners, and employees of each and every other Defendant, and were acting within the
13 course and scope of their agency, partnership, and employment.
14          5.     On or about December 17, 2010, Plaintiff, MELISSA STRAWDER-McCURRY, was
15 an invitee of WALMART, located at 6005 South Eastem Ave., Las Vegas, Nevada 89119. Plaintiff,
16 was walking into the WALMART store when she slipped on the area in front of the door where there
17 was slick concrete and no mat while it was raining .
18          6.     As a result of the above mentioned injury, Plaintiff, MELISSA STRAWDER-
19 McCURRY is continuing to endure sigrtificant pain, suffering and medical treatment
20 to endure surgery, rehabilitation and several months of rehabilitation.
21          7.      Defendant so carelessly and negligently, owned, controlled, inspected and maintained
22 the premises in what they knew or should have Icnown was an unstable and dangerous condition, so
23 as to cause injuries to Plaintiff, MELISSA STRAWDER-McCURRY.
24          8.      As a result of the aforementioned acts, Defendant is liable for the substantial and
25 permanent injuries that Plaintiff, MELISSA STRAWDER-McCURRY sustained.
26                                     FIRST CAUSE OF ACTION

27                                         (As to All Defendants)

28          9.      Plaintiffs hereby adopt and incorporate by reference Paragraphs 1 through 11 of this
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   1 complaint as though fully set forth herein.
   2          10. Defendant, owed Plaintiff, MELISSA STRAWDER-McCURRY, a duty to exercise
   3 reasonable and ordinary care in the exercise oftheir duties so as to prevent injury or harm to Plaintiff.
   4          11.     As a direct and proximate cause of the Defendant's breach, Plaintiff, MELISSA
   5 STRAWDER-McCURRY, suffered severe and grave injuries to her body..
   6          12.     Plaintiff s injuries resulted in great pain, suffering, impairment, surgery, disability
   7 from the date of the incident to the present in excess of $50,000.00 Further, her pain, suffering,

   8 'mpairment and disability will continue into the future, thereby resulting in medical and other special

   9 expenses in an amount to be proved at trial.
  10          13.As a clirect and proximate result, Plaintiff, MELISSA STRAWDER-McCURRY incurred
  11 expenses for medical care and treatment.
  12          14.    That at the time of the happening ofthe incident, Plaintiff, MELISSA STRAWDER-
  13 McCURRY, was a well and able bodied individual; that as a direct and proximate result of the
  14 negligence, carelessness, recklessness and wantonness ofsaid Defendants and each ofthem, Plaintiff,

• 15 MELISSA STRAWDER-McCURRY, has been absent from her employment which has resulted in
• 16 a loss of earnings and a loss of earning capacity, all to her damage, in an amount unknovvn to her at
  17 the present time. When the amount of said damages are ascertained, Plaintiff, will seek leave of this

  18 court to amend this Complaint according to show such damages.

  19          15.     As a result of the aforementioned conduct, Plaintiffs have been compelled to retain

• 20 the undersigned law firrn, to prosecute this action, and Plaintiff is entitled to reasonable attomey's
  21 fees and costs incurred therein.

  22          WHEREFORE, Plaintiff prays for relief from Defendants as follows:

  23                  1.      For general damages in excess of $50,000;

  24                  2.      For special damages to be proved up at trial;
  25
  26
  27
  28
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  1            3.       For reasonable attorney's fees and costs incurred herein;
  2            4.       For such other and further reliefas the Court may deem just and proper in this
  3                     matter.
  4      DATED this I             of December, 2012.
  5
  6                                             JANET S. MARKLEY, ESQ., P.C.
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 10
                                               dot           T M EY
                                                       /Nevada Bar No. 004009
                                                        1000 Nevada Way, 11102
 11                                                     Boulder City, NV 89005
                                                        Attomeys for the Plaintiffs
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